7 F.3d 225
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James M. OXIER, Petitioner-Appellant,v.William DUNCIL, Warden, Huttonsville Correctional Center,Respondent-Appellee.
    No. 93-6120.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 21, 1993.Decided:  September 16, 1993.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Elkins.  Robert Earl Maxwell, Chief District Judge.  (CA-92-80-E)
      James M. Oxier, Appellant Pro Se.
      Silas Bent Taylor, Deputy Attorney General, Charleston, West Virginia, for Appellee.
      N.D.W.Va.
      DISMISSED.
      Before WILKINSON and WILLIAMS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      James W. Oxier seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and Oxier's motion to proceed in forma pauperis, and dismiss the appeal on the reasoning of the district court.  Oxier v. Duncil, No. CA-92-80-E (N.D.W. Va.  Jan. 28, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    